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                                                              United States Bankruptcy Court
                                                               Eastern District of Arkansas
In re:                                                                                                                 Case No. 21-10333-pmj
Stephanie Dollar                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0860-4                                                  User: linda                                                                 Page 1 of 2
Date Rcvd: Feb 03, 2021                                               Form ID: 309I                                                             Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 05, 2021:
Recip ID                Recipient Name and Address
db                    + Stephanie Dollar, 401 High Hill Rd., North Little Rock, AR 72116-7209
6637416               + Arkansas Owner Finance, LLC, 143 Lily Dr., Maumelle, AR 72113-5831
6637418              ++ CAINE & WEINER COMPANY, 12005 FORD ROAD 300, DALLAS TX 75234-7262 address filed with court:, Caine & Weiner, 5805
                        Sepulveda Blvd. 4th FL, Van Nuys, CA 91411
6637419                 Cannon Finance, 1425-B Airport Road, Hot Springs National, AR 71913
6637422               + Dept. of Workforce Services, P.O. Box 8040, Little Rock, AR 72203-8040
6637423               + EZ Rental, 1001 North Missouri, West Memphis, AR 72301-2613
6637428               + Progressive, P.O. Box 31260, Tampa, FL 33631-3260
6637429               + Progressive Leasing, P.O. Box 413110, Salt Lake City, UT 84141-3110
6637430               + Radiology Consultants, 9601 Baptist Health Drive, Suite 1100, Little Rock, AR 72205-6333
6637433               + United States Attorney, Eastern District of Arkansas, PO Box 1229, Little Rock, AR 72203-1229

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: bcwlaw@yahoo.com
                                                                                        Feb 04 2021 03:07:00      Brian Christopher Wilson, Attorney at Law, P.O.
                                                                                                                  Box 3098, Little Rock, AR 72203
tr                        Email/Text: ecfmail@13ark.com
                                                                                        Feb 04 2021 03:09:00      Joyce Bradley Babin, Chapter 13 Standing
                                                                                                                  Trustee, <b>Line 1: 877-694-8061
                                                                                                                  code5202809</b>, <b>Line 2: 877-953-5412 code
                                                                                                                  6692958</b>, P.O. Box 8064, Little Rock, AR
                                                                                                                  72203-8064
ust                    + Email/Text: USTPRegion13.LR.ECF@usdoj.gov
                                                                                        Feb 04 2021 03:08:00      U.S. Trustee (ust), Office Of U. S. Trustee, 200 W
                                                                                                                  Capitol, Ste. 1200, Little Rock, AR 72201-3618
6637417                   EDI: ATLASACQU
                                                                                        Feb 04 2021 08:08:00      Atlas Acquisitions LLC, 294 Union St.,
                                                                                                                  Hackensack, NJ 07601
6637414                + Email/Text: agency@americanfirstfinance.com
                                                                                        Feb 04 2021 03:08:00      American First Finance, 3515 N. Ridge Rd. #200,
                                                                                                                  Wichita, KS 67205-1206
6637415                + EDI: ARKDEPREV.COM
                                                                                        Feb 04 2021 08:08:00      Arkansas DF&A, Revenue Legal Counsel, P.O.
                                                                                                                  Box 1272, Little Rock, AR 72203-1272
6637420                + EDI: CAPITALONE.COM
                                                                                        Feb 04 2021 08:08:00      Capital One, P.O. Box 30281, Salt Lake City, UT
                                                                                                                  84130-0281
6637421                + EDI: IRS.COM
                                                                                        Feb 04 2021 08:08:00      Dept. of Treasury, Internal Revenue Services, P.O.
                                                                                                                  Box 7346, Philadelphia, PA 19101-7346
6637424                + EDI: AMINFOFP.COM
                                                                                        Feb 04 2021 08:08:00      First Premier, 3820 North Louise, Sioux Falls, SD
                                                                                                                  57107-0145
6637425                + Email/Text: Bankruptcy@FCScollects.com
                                                                                        Feb 04 2021 03:09:00      ICS, 10925 Otter Creek East, Mabelvale, AR
                                                                                                                  72103-1661
6637426                   EDI: JEFFERSONCAP.COM
                                                                                        Feb 04 2021 08:08:00      Jefferson Capital Systems, PO Box 7999, Saint
                                                                                                                  Cloud, MN 56302
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District/off: 0860-4                                                User: linda                                                           Page 2 of 2
Date Rcvd: Feb 03, 2021                                             Form ID: 309I                                                       Total Noticed: 25
6637427               + Email/Text: verityj22@hotmail.com
                                                                                   Feb 04 2021 03:08:00     John Gibson Auto Sales, 1425 Airport Road, Hot
                                                                                                            Springs National Park, AR 71913-7955
6637431               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Feb 04 2021 03:09:15     Resurgent / Lvnv Funding, Po Box 1269,
                                                                                                            Greenville, SC 29602-1269
6637432                    Email/Text: bankruptcy@snapfinance.com
                                                                                   Feb 04 2021 03:08:00     Snap Finance, LLC, 1193 W. 2400 S, Salt Lake
                                                                                                            City, UT 84119
6637434               + EDI: BLUESTEM
                                                                                   Feb 04 2021 08:08:00     Webbank/Fingerhut, 6250 Ridgewood Road, Saint
                                                                                                            Cloud, MN 56303-0820

TOTAL: 15


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 05, 2021                                        Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 3, 2021 at the address(es) listed
below:
Name                              Email Address
Brian Christopher Wilson
                                  on behalf of Debtor Stephanie Dollar bcwlawecf@gmail.com;R41121@notify.bestcase.com

Joyce Bradley Babin
                                  ecfmail@13ark.com

U.S. Trustee (ust)
                                  USTPRegion13.LR.ECF@usdoj.gov
                                  Shari.Sherman@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdoj.gov;mary.b.mansfield@usdoj.gov;Kent.H.Johnson
                                  @usdoj.gov


TOTAL: 3
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Information to identify the case:
Debtor 1                 Stephanie Dollar                                                       Social Security number or ITIN     xxx−xx−6394

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Arkansas                              Date case filed for chapter 13 2/2/21

Case number:          4:21−bk−10333                                                             Judge: Phyllis M. Jones


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Stephanie Dollar

2. All other names used in the
   last 8 years
                                              401 High Hill Rd.
3. Address                                    North Little Rock, AR 72116
                                              Brian Christopher Wilson                                      Contact phone 501−753−3328
4. Debtor's  attorney
   Name and address
                                              Attorney at Law
                                              P.O. Box 3098                                                 Email: bcwlaw@yahoo.com
                                              Little Rock, AR 72203

5. Bankruptcy trustee                         Joyce Bradley Babin                                           Contact phone (501) 537−2500
     Name and address                         Chapter 13 Standing Trustee
                                              Line 1: 877−694−8061 code5202809
                                              Line 2: 877−953−5412 code 6692958
                                              P.O. Box 8064
                                              Little Rock, AR 72203−8064

6. Bankruptcy clerk's office                                                                                Hours open 8:00 a.m. − 5:00 p.m.
     Documents in this case should be         300 W. 2nd Street                                             Contact phone: 501−918−5500 or
     filed in ECF or at one of these          Little Rock, AR 72201                                         479−582−9800
     addresses.                               OR
                                              35 E. Mountain St. Rm 316                                     Date: 2/3/21
     You may inspect all records filed in
     this case at this office or online at    Fayetteville, AR 72701
      pacer.uscourts.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
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Debtor Stephanie Dollar                                                                                                            Case number 4:21−bk−10333

7. Meeting of creditors
    Debtors must attend the meeting to     March 1, 2021 at 02:00 PM                                          Location:
    be questioned under oath. In a joint                                                                     341a Telephonic Meeting, use Teleconf
    case, both spouses must attend.                                                                          number Line 2, shown in trustee's address
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    above.
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                           *** Valid photo identification and proof of social security
                                                              number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                  Filing deadline: 4/30/21
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim        Filing deadline: 4/13/21
                                           (except governmental units):
                                           ** Effective December 1, 2017, for holder(s) of a claim secured by a security interest in the
                                           debtor's principal residence, please reference Bankruptcy Rule 3002(c)(7) regarding filing
                                           deadlines for attachments filed as a supplement to the holder's claim.
                                           Deadline for governmental units to file a proof of         Filing deadline: 8/2/21
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim can be filed on−line at
                                           www.arb.uscourts.gov or obtained at www.uscourts.gov or any bankruptcy clerk's office and filed at either
                                           address listed in #6 above. If you do not file a proof of claim by the deadline, you might not be paid on your
                                           claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline: 30 days after the
                                           The law permits debtors to keep certain property as exempt. If you         conclusion of the meeting of creditors or
                                           believe that the law does not authorize an exemption claimed, you          within 30 days after any amendment to
                                           may file an objection.                                                     the list or supplemental schedules is
                                                                                                                      filed, whichever is later. ****
                                           Deadline to object to exemptions in cases converted ****Filing deadline: See Bankruptcy
                                           to Chapter 7:                                       Rule 1019(2)(B).

9. Filing of plan                          A copy of the Chapter 13 Plan may be viewed online at pacer.uscourts.gov or at the bankruptcy clerk's office or
                                           you may contact your attorney for additional information.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. Objections to confirmation must be filed
                                           with the Court and served on the Trustee and Debtor on or before the fourteenth (14th) day after the meeting of
                                           creditors is concluded. If no objection is timely filed, the plan will be confirmed pursuant to Federal Rule of
                                           Bankruptcy Procedure 3015. If objections are timely filed, a hearing on confirmation will be set by subsequent
                                           notice. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion.
14. Intent to abandon property             The trustee may give notice at the meeting of creditors of his/her intent to abandon property unless
                                           objections are filed within 15 days.

Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
